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                            UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                CHARLESTON DIVISION


IN RE: AQUEOUS FILM-FORMING                             MDL No. 2: 18-mn-02873-RMG
FOAMS PRODUCTS LIABILITY
LITIGATION                                              This document relates to:
                                                        Gibson, et al. v. 3M Company, et al.

                                                        2:22-cv-1303-RMG


      GENERAL DENIAL AND PRELIMINARY STATEMENT OF AFFIRMATIVE
             DEFENSES OF NORTHEAST RESCUE SYSTEMS, INC.

        Defendant, Northeast Rescue Systems, Inc. ("Defendant"), by and through its undersigned

counsel, and pursuant to the Case Management Order No. 20, hereby responds to any Complaint(s)

and any Amendment(s) to Complaint(s) filed by plaintiffs, Kenneth and Amanda Gibson

(individually "Plaintiff," collectively "Plaintiffs"), in the above-referenced action, and to any other

Complaint filed by any other Plaintiff against Defendant that becomes subject to the administration

of this multi-district litigation as follows:

                                         GENERAL DENIAL

        Pursuant to Federal Rule of Civil Procedure 8(b)(3), Defendant generally and specifically

denies each and every allegation set forth in the Plaintiffs' Complaint, and the whole thereof, and

each and every cause of action therein. Defendant also demands strict proof of the same by a

preponderance of the evidence and/or by clear and convincing evidence, as required by law.

Defendant further denies that Plaintiffs have sufficiently alleged grounds upon which any relief

could be granted; denies that Plaintiffs have sustained damages in any sums alleged, or any sums

at all; and denies that Plaintiffs are entitled to relief of any type, by reason of any act, breach, or

omission on the part of Defendant, or anyone acting on its behalf. Defendant reserves the rights

to assert cross-claims and/or third-party claims, and does not waive its ability to separately and
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